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                                                          EXHIBIT E
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Proposed Protocol for the Examination and Inspection of the Incident Battery Charger
                                 P65745 Ryan v. Sears
                               Test Date: March XX, 2010
Battery Charger Inspection Protocol
This protocol describes the inspection of the subject battery charger. All stages of the protocol
outlined below can be photodocumented by investigators using their own equipment. Testing
may be video-documented without sound. If performed, video of the inspection will be made
available to all interested parties (at cost to the party). Prior to disassembly, disconnection or
cutting of any components, index marks will be made on components so that their original
orientation is determined.

Testing will be conducted according to this protocol. In the event any additions or modifications
to the protocol are required during the testing, the proposed modifications will be discussed and
mutually agreed upon by all parties present before continuation of the testing.
   1. The charger will first be photodocumented.
   2. The clips and contact surfaces will be examined with a stereomicroscope or using a
      loupe.
   3. A boroscope will be inserted into the negative clip to examine the condition of the spring.
   4. The contact surfaces of the clips may be examined with a scanning electronic microscope
      (SEM) and energy dispersive spectroscopy (EDS).
   5. The rivet on the negative connector will be drilled out and the clip will be disassembled.
      The orientation of the spring will be documented.
   6. The spring will be removed and examined using stereomicroscopy, SEM and EDS. An
      area of the spring may be cut for cross-section examination. The cross sections may be
      examined in the as-cut state or in a polished and etched condition using optical
      microscopy and SEM/EDS.
   7. Steps 5-7 may be repeated on the positive lead.
